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 5   Attorneys for Plaintiffs,
     Arthur Catalano, Matthew Fernandes,
 6   Andre Joseph, Alexander Alonso, and Randolph Jones
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 8
 9                            UNITED STATES DISTRICT COURT

10                          CENTRAL DISTRICT OF CALIFORNIA

11     Richard Dalton, Arthur Catalano,                    Case No.: 2:19-cv-04821-MWF-
12     Matthew Fernandes, Andre Joseph,                    KS
       Alexander Alonso, and Randolph
13     Jones, individually and on behalf
14     of others similarly situated,
                                                           NOTICE OF SETTLEMENT
15                        Plaintiffs,
16     v.
17     Anovos Productions, LLC, Disney
18     Lucasfilm Ltd., NBCUniversal
       Media, LLC; and CBS Studios,
19     Inc.,
20
                          Defendants.
21
22
            NOTICE IS HEREBY GIVEN that Plaintiffs ARTHUR CATALANO,
23
     MATTHEW FERNANDES, ANDRE JOSEPH, ALEXANDER ALONSO and
24
     RANDOLPH JONES (“Plaintiffs”) have settled their claims against Defendant
25
     ANOVOS PRODUCTIONS, LLC (“Defendant”) (collectively referred to as
26
     “the Parties”). As such, the Parties request that the discovery conference
27
     scheduled for July 15, 2020 at 2:00PM be removed from this Court’s calendar.
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 1        The Plaintiffs anticipate filing a request for dismissal, with prejudice,
 2   within 60 days. The Parties request that all remaining dates and filing
 3   requirements be vacated and that the Court set a deadline on or after September
 4   13, 2020 for filing a request for dismissal.
 5
 6   Respectfully submitted,
 7   Date: July 14, 2020                                       KAZEROUNI LAW GROUP, APC
 8
 9                                                              By: s/ Yana A. Hart
                                                                   Yana A. Hart
10                                                                 Attorneys for Plaintiffs
11
12   Date: July 14, 2020                                       ROME & ASSOCIATES APC
13
14                                                              By: s/ Sridavi Ganesan
                                                                   Sridavi Ganesan
15                                                                 Attorneys for Defendant
16                                                                 Anovos Productions, LLC
17
18                                  Signature Certification
19          Pursuant to Section 2(f)(4) of the Electronic Case Filing
20   Administrative Policies and Procedures Manual, I hereby certify that the
21   content of this document is acceptable to Sridavi Ganesan, counsel for the
22   Defendant, and that I have obtained her authorization to affix her electronic
23   signature to this document.
24
     Date: July 14, 2020                                   KAZEROUNI LAW GROUP, APC
25
26                                                              By: s/Yana A. Hart
                                                                    Yana A. Hart
27                                                                  Attorneys for Plaintiffs
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       NOTICE OF SETTLEMENT                       - 2 of 2 -                   2:19-cv-04821-MWF-KS
